 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-10759
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Bank of Oklahoma                                         Operating                    3475                                             $0.00




           3.2.    Bank SNB                                                                                                                               $0.00



                                                                            Flexible Spending
           3.3.    Bank SNB                                                 holding account                                                               $0.00




           3.4.    Bank SNB                                                 Operating                    4640                                             $0.00




           3.5.    Bank SNB                                                 Payroll                                                                       $0.00




           3.6.    Legacy Bank                                              Operating                    9397                                             $0.00




           3.7.    Simmons First                                            Checking                     5090                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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                  Name




           3.8.     Simmons First                                            Operating                        5872                            $0.00



                                                                             Flexible Spending
           3.9.     Simmons First                                            holding account                  8256                            $0.00



           3.10
           .    Simmons First                                                Payroll                          0877                            $0.00



           3.11
           .    Simmons First                                                                                 4434                            $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                              $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Pre-paid insurance account with IMA                                                                                 Unknown




 9.        Total of Part 2.                                                                                                              $0.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               163,000.00    -                               0.00 =....            $163,000.00
                                              face amount                         doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                       $163,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                         Valuation method used     Current value of
                                                                                                         for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Equity investment - LAWE, LLC                                                   %                                       $48,000.00




           15.2.     Equity Investment- Rodeway Inn                                                  %                                       $30,000.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                              $78,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of       Valuation method used     Current value of
                                                      physical inventory         debtor's interest       for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory, Parts and
           Pipes, in the possession
           of Cecil Obrate in
           Garden City                                                                         $0.00     Replacement                        $901,109.93




 23.       Total of Part 5.                                                                                                             $901,109.93
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture and Fixtures- See attached list
           for details                                                                      $0.00    Recent cost                         $168,569.82



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer Hardware and Software - See
           attached list for details                                                        $0.00    Recent cost                         $224,395.03


           Office Equipment- See attached list for details                                  $0.00    Recent cost                          $67,865.04



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $460,829.89
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Chevy Colorado                                                         $0.00    Recent cost                  $16,546.95


           47.2.     2015 Chevy Silverado VIN
                     1GC1KUE82FF161766                                                      $0.00                                 $46,143.08


           47.3.     2015 Chevy Silverado VIN
                     1GC1KUE88FF162002                                                      $0.00                                 $46,143.08


           47.4.     2015 Chevy Silverado VIN
                     1GC1KUE84FF160733                                                      $0.00                                 $46,143.08


           47.5.     2014 E-Z-Go Express S/N 3088191                                        $0.00                                   $9,000.00


           47.6.     2015 Kia Optima VIN
                     5XXGM4A70FG353805                                                      $0.00                                 $21,969.78


           47.7.     2015 Kia Optima VIN
                     5XXGM4A78FG357133                                                      $0.00                                 $21,969.78


           47.8.     2014 GMC Sierra VIN
                     3GTU2VEC4EG502105                                                      $0.00                                 $49,182.61


           47.9.     2009 GMC Sierra VIN
                     3GT3K33M99G241466                                                      $0.00                                 $14,507.04


           47.10 2009 GMC Sierra VIN
           .     3GT3K33M59G257373                                                          $0.00                                 $14,507.04


           47.11
           .     2004 GMC 2500 HD                                                           $0.00                                 $25,583.00


           47.12
           .     2007 Denali XL                                                             $0.00                                 $57,133.00


           47.13
           .     2011 Denali                                                                $0.00                                 $47,007.72


           47.14
           .     2011 GMC Sierra                                                            $0.00                                 $35,979.51


           47.15
           .     2004 Ford F250 Super Duty                                                  $0.00                                 $10,821.20


           47.16
           .     2001 GMC Sierra C 250                                                      $0.00                                   $9,500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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           47.17
           .     2012 GMC Sierra Denali                                                     $0.00                                    $51,807.68


           47.18
           .     2013 Acura MDX                                                             $0.00                                    $49,819.32


           47.19
           .     2013 Ford F150                                                             $0.00                                    $40,734.21


           47.20
           .     2012 Ford Expedition                                                       $0.00                                    $52,744.01


           47.21
           .     2013 Ford F150 Platinum                                                    $0.00                                    $57,838.37


           47.22
           .     2011 Ford F350 Super                                                       $0.00                                    $50,000.00


           47.23
           .     2012 Jeep Wrangler                                                         $0.00                                    $40,609.85



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           AC Unit at 300 E. Industrial                                                     $0.00                                    $12,500.00


           New Holland Skid Steer                                                           $0.00                                    $11,000.00


           Skytrak 8042 Telehandler                                                         $0.00                                    $40,609.85


           Construction Equipment- See attached list for
           details                                                                          $0.00    Recent cost                   $242,497.58


           Machinery and Equipment- See attached list
           for details                                                                      $0.00    Recent cost                 $4,515,512.80




 51.       Total of Part 8.                                                                                                    $5,637,810.54
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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 Debtor         WB Services, LLC                                                              Case number (If known) 16-10759
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     300 E Industrial Drive
                     Sedgwick Ks 67135                    Fee simple                        $0.00      Appraisal                          $750,000.00


            55.2.
                     200 E Industrial Drive
                     Sedgwick Ks 67135                    Fee simple                        $0.00      Tax records                        $140,000.00




 56.        Total of Part 9.                                                                                                            $890,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Marquis Energy LLC Hennepil IL: E150 SWOFF                                      $0.00                                         $149,221.74


            Cetane pilot plant                                                              $0.00                                            Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 7
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            Membrane pilot plant                                                            $0.00                                       Unknown


            4Q 2013 Capitalization of pump added to skin                                    $0.00                                       $2,408.39


            renewable diesel technology use agreeements
            (3) sublicensed from WB Technologies                                            $0.00                                 $3,000,000.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                   $3,151,630.13
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $163,000.00

 83. Investments. Copy line 17, Part 4.                                                                             $78,000.00

 84. Inventory. Copy line 23, Part 5.                                                                             $901,109.93

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $460,829.89

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,637,810.54

 88. Real property. Copy line 56, Part 9.........................................................................................>                         $890,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $3,151,630.13

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $10,392,380.49              + 91b.              $890,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $11,282,380.49




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                             page 9
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 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)             16-10759
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1   Cecil O'Brate                                  Describe debtor's property that is subject to a lien               $13,897,533.17                   Unknown
       Creditor's Name                                Business Assets & Receivables of WB
                                                      Services, LLC
       3118 N. Cummings Road
       Garden City, KS 67846
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ford Credit                                    Describe debtor's property that is subject to a lien                     $29,548.56                $30,000.00
       Creditor's Name                                2013 Ford F-150 PU
       PO Box 650575
       Dallas, TX 75265-0575
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 3
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              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Legacy Bank                                    Describe debtor's property that is subject to a lien                     $109,226.59    $75,000.00
       Creditor's Name                                storage building at 200 E Industrial Dr.
                                                      Sedgwick Ks 67135
       240 W. Wichita Ave
       Colwich, KS 67030
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Simmons First National
 2.4                                                                                                                           $407,169.91   $750,000.00
       Bank                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Office Building-300 E Industrial Dr. Sedgwick
                                                      Ks 67135
       12121 E 21st St North
       Wichita, KS 67206
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Southwest National Bank                        Describe debtor's property that is subject to a lien                      $37,838.66    $40,000.00
       Creditor's Name                                2014 GMC Sierra
       PO Box 1401
       Wichita, KS 67201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 3
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 Debtor       WB Services, LLC                                                                         Case number (if know)       16-10759
              Name

        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.6    TD Auto Finance                               Describe debtor's property that is subject to a lien                      $60,248.61          $75,000.00
        Creditor's Name                               2011 Ford F-350;2012 Ford Expedition; 2013
        PO Box 9223                                   Ford F-150
        Farmington Hills, MI
        48333-9223
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        various                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $14,541,565.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        50

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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                                        Case 16-10759                 Doc# 31           Filed 05/20/16              Page 23 of 133
 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)           16-10759
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $3,111.68          $3,111.68
           Alexander, Karl                                           Check all that apply.
           747 E. Simpson                                               Contingent
           McPherson, KS 67460                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee - Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $1,476.00          $1,476.00
           Alexander, Karl                                           Check all that apply.
           747 E. Simpson                                               Contingent
           McPherson, KS 67460                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee - Reimbursement
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 88
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                                     Case 16-10759                     Doc# 31              Filed 05/20/16                   Page 24 of 133
 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,963.68    $0.00
          Ariagno, Julian                                            Check all that apply.
          235 Ridgefield Circle                                         Contingent
          Andover, KS 67002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $50,000.00    $50,000.00
          Ariagno, Julian                                            Check all that apply.
          235 Ridgefield Circle                                         Contingent
          Andover, KS 67002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee- payroll; Employment Agreement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,695.88    $1,695.88
          Austin, Summer                                             Check all that apply.
          626 W. Parkway Ct                                             Contingent
          Valley Center, KS 67147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $50,000.00    $50,000.00
          Awtrey, Brandon                                            Check all that apply.
          7003 W. 34th Str. N                                           Contingent
          Apt. 202                                                      Unliquidated
          Wichita, KS 67205                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Owner
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 88
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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,922.56    $1,922.56
          Awtrey, Brandon                                            Check all that apply.
          7003 W. 34th Str. N                                           Contingent
          Apt. 202                                                      Unliquidated
          Wichita, KS 67205                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,507.80    $2,507.80
          Azzarito, Andrew                                           Check all that apply.
          3002 W Cornelison                                             Contingent
          Wichita, KS 67203                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $738.00    $738.00
          Azzarito, Andrew                                           Check all that apply.
          3002 W Cornelison                                             Contingent
          Wichita, KS 67203                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,852.43    $2,852.43
          Baldwin, Keith                                             Check all that apply.
          404 Maple Street                                              Contingent
          Rathban, IA 52544                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 88
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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Baldwin, Keith                                             Check all that apply.
          404 Maple Street                                              Contingent
          Rathban, IA 52544                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,030.85    $3,030.85
          Beek, Rodney                                               Check all that apply.
          1208 Moonstone Ct                                             Contingent
          Mason City, IA 50401                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,800.00    $1,800.00
          Beek, Rodney                                               Check all that apply.
          1208 Moonstone Ct                                             Contingent
          Mason City, IA 50401                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $100,000.00    $12,850.00
          Beemiller, Ron                                             Check all that apply.
          2642 N Northshore Circle                                      Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll- January- April 2016 payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 88
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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,066.00    $1,066.00
          Behrens, Brittany                                          Check all that apply.
          112 South River Avenue                                        Contingent
          Exeter, NE 68351                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $171.61    $171.61
          Behrens, Brittany                                          Check all that apply.
          112 South River Avenue                                        Contingent
          Exeter, NE 68351                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,066.00    $1,066.00
          Behrens, Charles                                           Check all that apply.
          112 S. River Avenue                                           Contingent
          Exeter, NE 68351                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $269.56    $269.56
          Behrens, Charles                                           Check all that apply.
          112 S. River Avenue                                           Contingent
          Exeter, NE 68351                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,174.62    $3,174.62
          Belyamani, Adam                                            Check all that apply.
          1804 N Columbine St                                           Contingent
          Andover, KS 67002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,084.32    $1,084.32
          Bennett, Cori                                              Check all that apply.
          631 N. Westlink Apt. 201                                      Contingent
          Wichita, KS 67212                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,132.75    $3,132.75
          Berry, Terry                                               Check all that apply.
          4487 Hwy 18 S                                                 Contingent
          Morganton, NC 28655                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Berry, Terry                                               Check all that apply.
          4487 Hwy 18 S                                                 Contingent
          Morganton, NC 28655                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,783.48    $2,783.48
          Bird, Brook                                                Check all that apply.
          1521 7th St.                                                  Contingent
          Columbus, NE 68601                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Bird, Brook                                                Check all that apply.
          1521 7th St.                                                  Contingent
          Columbus, NE 68601                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,115.25    $3,115.25
          Black, Brian                                               Check all that apply.
          P.O. Box 125                                                  Contingent
          Cookson, OK 74427                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Black, Brian                                               Check all that apply.
          P.O. Box 125                                                  Contingent
          Cookson, OK 74427                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,774.25    $1,774.25
          Burkhart, Richard                                          Check all that apply.
          3834 N. Lake Ridge                                            Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,824.93    $3,824.93
          Camper, Dean                                               Check all that apply.
          2311 N. Shefford Cir                                          Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,085.89    $4,085.89
          Carter, Chris                                              Check all that apply.
          104 S Putter Dr                                               Contingent
          Andover, KS 67002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $16.10    $16.10
          Carter, Chris                                              Check all that apply.
          104 S Putter Dr                                               Contingent
          Andover, KS 67002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $96,983.50    $96,983.50
          Colorado Department of Revenue                             Check all that apply.
          1375 Sherman St.                                              Contingent
          Denver, CO 80261-0004                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax Liability
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Cooley, Tory                                               Check all that apply.
          112 N. Commercial                                             Contingent
          Sedgwick, KS 67135                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,066.00    $1,066.00
          Cruz, Juan                                                 Check all that apply.
          2052 South Pattie                                             Contingent
          Wichita, KS 67211                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $764.26    $764.26
          Cruz, Juan                                                 Check all that apply.
          2052 South Pattie                                             Contingent
          Wichita, KS 67211                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,903.20    $1,903.20
          Dawson, Jacob                                              Check all that apply.
          1104 Randolph Street                                          Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,173.27    $3,173.27
          Dawson, Jeremiah                                           Check all that apply.
          1104 Randolph Street                                          Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,922.09    $2,922.09
          Dean, Curtis                                               Check all that apply.
          PO Box 33                                                     Contingent
          Marquette, WI 53947                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Dean, Curtis                                               Check all that apply.
          PO Box 33                                                     Contingent
          Marquette, WI 53947                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,238.78    $0.00
          Dill, Douglas                                              Check all that apply.
          301 E. Plumb Ave                                              Contingent
          P.O. Box 7                                                    Unliquidated
          Hartford, KS 66854                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $902.00    $902.00
          Dill, Douglas                                              Check all that apply.
          301 E. Plumb Ave                                              Contingent
          P.O. Box 7                                                    Unliquidated
          Hartford, KS 66854                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,138.47    $2,138.47
          Donahue, Josh                                              Check all that apply.
          649 Trotter                                                   Contingent
          Maize, KS 67101                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $896.33    $896.33
          Duncan, Douglas                                            Check all that apply.
          3005 Appleton #123                                            Contingent
          Parson, KS 67357                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.00    $328.00
          Duncan, Douglas                                            Check all that apply.
          3005 Appleton #123                                            Contingent
          Parson, KS 67357                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,542.20    $3,542.20
          Eldringhoff, Dawna                                         Check all that apply.
          8 Flanigan Court                                              Contingent
          Augusta, KS 67010                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,635.74    $3,635.74
          Ellis, Eric                                                Check all that apply.
          35205 W. 13th St. N.                                          Contingent
          Cheney, KS 67025                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Federal Department of Labor                                Check all that apply.
          Frances Perkins Building                                      Contingent
          200 Constitution Ave NW                                       Unliquidated
          Washington, DC 20210                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,768.52    $2,768.52
          Finger, Cody                                               Check all that apply.
          2703 Philadelphia Church Rd                                   Contingent
          Dallas, NC 28034                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Finger, Cody                                               Check all that apply.
          2703 Philadelphia Church Rd                                   Contingent
          Dallas, NC 28034                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,318.99    $3,318.99
          Flores, Javier                                             Check all that apply.
          16121 S. 4230 Rd                                              Contingent
          Claremore, OK 74017                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Flores, Javier                                             Check all that apply.
          16121 S. 4230 Rd                                              Contingent
          Claremore, OK 74017                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $887.26    $887.26
          Foster, Sarah                                              Check all that apply.
          8106 E. Champions St                                          Contingent
          Wichita, KS 67226                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,824.92    $2,824.92
          Franklin, Jason                                            Check all that apply.
          1106 Charles Street                                           Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,542.00    $2,542.00
          Gates, Jason                                               Check all that apply.
          2149 130th Street                                             Contingent
          Mapleton, KS 66754                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,001.99    $2,001.99
          Gates, Jason                                               Check all that apply.
          2149 130th Street                                             Contingent
          Mapleton, KS 66754                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,152.53    $3,152.53
          Gates, Michael                                             Check all that apply.
          402 South Hill Street                                         Contingent
          Fort Scott, KS 66701                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,000.00    $1,000.00
          Gates, Michael                                             Check all that apply.
          402 South Hill Street                                         Contingent
          Fort Scott, KS 66701                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,387.23    $2,387.23
          Glasscock, Timothy                                         Check all that apply.
          9014 W. Britton Circle                                        Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $100.00    $100.00
          Glasscock, Timothy                                         Check all that apply.
          9014 W. Britton Circle                                        Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,201.83    $3,201.83
          Good Jr, John                                              Check all that apply.
          P.O. Box 501                                                  Contingent
          Ft. Towson, OK 74735                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,100.00    $2,100.00
          Good Jr, John                                              Check all that apply.
          P.O. Box 501                                                  Contingent
          Ft. Towson, OK 74735                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $639.35    $639.35
          Gould, Bryce                                               Check all that apply.
          1457 N. Smith Court                                           Contingent
          Apt 3                                                         Unliquidated
          Wichita, KS 67212                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $82.00    $82.00
          Gould, Bryce                                               Check all that apply.
          1457 N. Smith Court                                           Contingent
          Apt 3                                                         Unliquidated
          Wichita, KS 67212                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $234.79    $234.79
          Grewing, Joseph                                            Check all that apply.
          1225 E. Minota Street                                         Contingent
          Springfield, MO 65804                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $164.00    $164.00
          Grewing, Joseph                                            Check all that apply.
          1225 E. Minota Street                                         Contingent
          Springfield, MO 65804                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,780.39    $1,780.39
          Hall Jr., Randy                                            Check all that apply.
          945 N. Georgia Ave                                            Contingent
          Derby, KS 67037                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Hallowell, Shannon                                         Check all that apply.
          4530 S. Ida                                                   Contingent
          Wichita, KS 67216                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,204.19    $2,204.19
          Hampton, Kyle                                              Check all that apply.
          1945 N. Rock Rd                                               Contingent
          #1710                                                         Unliquidated
          Wichita, KS 67206                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,450.30    $3,450.30
          Hazelwood, Raymond                                         Check all that apply.
          P.O. Box 363                                                  Contingent
          Blackwell, OK 74631                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Hazelwood, Raymond                                         Check all that apply.
          P.O. Box 363                                                  Contingent
          Blackwell, OK 74631                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,452.65    $2,452.65
          Helmick, Bruce                                             Check all that apply.
          15320 Brahma Rd                                               Contingent
          Polk City, FL 33868                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Helmick, Bruce                                             Check all that apply.
          15320 Brahma Rd                                               Contingent
          Polk City, FL 33868                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,730.15    $1,730.15
          Higginbotham, Adam                                         Check all that apply.
          302 Montgomery Crt                                            Contingent
          Mound City, KS 66056                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $246.00    $246.00
          Higginbotham, Adam                                         Check all that apply.
          302 Montgomery Crt                                            Contingent
          Mound City, KS 66056                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $70,000.00    $70,000.00
          Hoffman, Bernard                                           Check all that apply.
          4222 N. Sweet Bay                                             Contingent
          Wichita, KS 67226                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Owner
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $19,422.33     $12,850.00
          Hoffman, Bernard                                           Check all that apply.
          4222 N. Sweet Bay                                             Contingent
          Wichita, KS 67226                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,741.11     $2,741.11
          Hunter, Tim                                                Check all that apply.
          151 S. 1st                                                    Contingent
          Ft. Towson, OK 74735                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00     $1,476.00
          Hunter, Tim                                                Check all that apply.
          151 S. 1st                                                    Contingent
          Ft. Towson, OK 74735                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,087,260.33    $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Oper.                                  Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Liability- 941 taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $173,500.00    $173,500.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Oper.                                  Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Income Tax Liability- 2014 IRS income tax
                                                                     payment/Vogel; does not include
                                                                     penalty/interest
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $125,000.00    $125,000.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Oper.                                  Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Income Tax Liability- 2014 IRS income tax
                                                                     payment/Beemiller; does not include
                                                                     penalty/interest
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,578.13    $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Oper.                                  Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Liability- Federal 940
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $23,978.94    $23,978.94
          Iowa Department of Revenue                                 Check all that apply.
          PO Box 10466                                                  Contingent
          Des Moines, IA 50306-0466                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Liability- Iowa Withholding
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,751.78    $2,751.78
          Iowa Department of Workforce                               Check all that apply.
          Unemployment Insurance Tax Bu                                 Contingent
          1000 E. Grand Avenue                                          Unliquidated
          Des Moines, IA 50319                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Iowa Unemployment
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,810.99    $2,810.99
          Jackson, James                                             Check all that apply.
          121 Park Str                                                  Contingent
          Fordland, MO 65652                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,312.00    $1,312.00
          Jackson, James                                             Check all that apply.
          121 Park Str                                                  Contingent
          Fordland, MO 65652                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,506.48    $1,506.48
          Jackson, Joseph                                            Check all that apply.
          1807 Norman Ave                                               Contingent
          Crete, NE 68333                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $574.00    $574.00
          Jackson, Joseph                                            Check all that apply.
          1807 Norman Ave                                               Contingent
          Crete, NE 68333                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $470.64    $470.64
          Jennings, Bryan                                            Check all that apply.
          11610 E. 69th Str. N                                          Contingent
          Owasso, OK 74055                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.00    $328.00
          Jennings, Bryan                                            Check all that apply.
          11610 E. 69th Str. N                                          Contingent
          Owasso, OK 74055                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,216.66    $3,216.66
          Johnson, Dan                                               Check all that apply.
          770 N Silver Springs                                          Contingent
          #301                                                          Unliquidated
          Wichita, KS 67212                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,229.17    $2,229.17
          Johnson, Eric                                              Check all that apply.
          4173 Cambridge Street                                         Contingent
          Kansas City, KS 66103                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,230.00    $1,230.00
          Johnson, Eric                                              Check all that apply.
          4173 Cambridge Street                                         Contingent
          Kansas City, KS 66103                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,942.11    $1,942.11
          Kalp, Dennis                                               Check all that apply.
          512 Plumwood Drive                                            Contingent
          Rose Hill, KS 67133                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $22.50    $22.50
          Kalp, Dennis                                               Check all that apply.
          512 Plumwood Drive                                            Contingent
          Rose Hill, KS 67133                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $36,419.40    $36,419.40
          Kansas Department of Human                                 Check all that apply.
          Resources                                                     Contingent
          Division of Employment Sec.                                   Unliquidated
          PO Box 400                                                    Disputed
          Topeka, KS 66601-0400
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Liability- Kansas Unemployment
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Kansas Department of Labor                                 Check all that apply.
          Asset Recovery                                                Contingent
          401 SW Topeka Blvd.                                           Unliquidated
          Topeka, KS 66603                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $37,863.74    $37,863.74
          Kansas Department of Revenue                               Check all that apply.
          Civil Tax Enforcement                                         Contingent
          PO Box 12005                                                  Unliquidated
          Topeka, KS 66612-2005                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Liability- Kansas Withholding
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,148.14    $1,148.14
          Keith, Fawn                                                Check all that apply.
          343 Whispering Pines                                          Contingent
          Wichita, KS 67212                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,799.40    $2,799.40
          King, Dillon                                               Check all that apply.
          1274 Bethel Church Rd                                         Contingent
          Summerville, GA 30747                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          King, Dillon                                               Check all that apply.
          1274 Bethel Church Rd                                         Contingent
          Summerville, GA 30747                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,846.32    $2,846.32
          Lambert, Donna                                             Check all that apply.
          P.O. Box 1612                                                 Contingent
          Mountain Grove, MO 65711                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Lambert, Donna                                             Check all that apply.
          P.O. Box 1612                                                 Contingent
          Mountain Grove, MO 65711                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,846.32    $2,846.32
          Lambert, Kenneth                                           Check all that apply.
          P.O. Box 1612                                                 Contingent
          Mountain Grove, MO 65711                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Lambert, Kenneth                                           Check all that apply.
          P.O. Box 1612                                                 Contingent
          Mountain Grove, MO 65711                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,407.41    $2,407.41
          Landsbaum, Ross                                            Check all that apply.
          501 East Edinborough                                          Contingent
          PO Box 524                                                    Unliquidated
          Bentley, KS 67016                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $332.26    $332.26
          Landsbaum, Ross                                            Check all that apply.
          501 East Edinborough                                          Contingent
          PO Box 524                                                    Unliquidated
          Bentley, KS 67016                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,527.89    $2,527.89
          Lemons, Gage                                               Check all that apply.
          HC66                                                          Contingent
          P.O. Box 752                                                  Unliquidated
          Sturdivant, MO 63782                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Lemons, Gage                                               Check all that apply.
          HC66                                                          Contingent
          P.O. Box 752                                                  Unliquidated
          Sturdivant, MO 63782                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,807.36    $1,807.36
          Leroy, Billy                                               Check all that apply.
          23292 Mt. Pleasant Rd                                         Contingent
          Howe, OK 74940                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,148.00    $1,148.00
          Leroy, Billy                                               Check all that apply.
          23292 Mt. Pleasant Rd                                         Contingent
          Howe, OK 74940                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $968.94    $968.94
          Lintz, Hollie                                              Check all that apply.
          1402 N. Washington                                            Contingent
          Sedgwick, KS 67135                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,235.76    $2,235.76
          Livesay, Tim                                               Check all that apply.
          1207 Berry Ave.                                               Contingent
          Newton, KS 67114                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Maloy, Brandon                                             Check all that apply.
          201 Meadowbrook Dr.                                           Contingent
          APT. 505                                                      Unliquidated
          Newton, KS 67114                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,853.06    $1,853.06
          Maury, Elizabeth                                           Check all that apply.
          746 South Meadows Drive                                       Contingent
          Hesston, KS 67062                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,633.50    $2,633.50
          McCullough, Zebulah                                        Check all that apply.
          P.O. Box 6                                                    Contingent
          Mapleton, KS 66754                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,728.00    $1,728.00
          McCullough, Zebulah                                        Check all that apply.
          P.O. Box 6                                                    Contingent
          Mapleton, KS 66754                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $878.55    $878.55
          Merrill, Michael                                           Check all that apply.
          P.O. Box 1034                                                 Contingent
          Jackson, SC 29831                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.00    $328.00
          Merrill, Michael                                           Check all that apply.
          P.O. Box 1034                                                 Contingent
          Jackson, SC 29831                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,845.41    $7,845.41
          Minnesota Department of Revenue                            Check all that apply.
          Mail Station                                                  Contingent
          St. Paul, MN 55145-1275                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax Liability
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,000.00    $25,000.00
          Mork, Eric                                                 Check all that apply.
          3960 Sweet Bay Ct.                                            Contingent
          Wichita, KS 67226                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,844.99    $1,844.99
          Murillo, Andres                                            Check all that apply.
          1304 W. Austin PL                                             Contingent
          Broken Arrow, OK 74011                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,312.00    $1,312.00
          Murillo, Andres                                            Check all that apply.
          1304 W. Austin PL                                             Contingent
          Broken Arrow, OK 74011                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,055.90    $2,055.90
          Nuss, Tyler                                                Check all that apply.
          448 N. Sheridan                                               Contingent
          Valley Center, KS 67147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Nuss, Tyler                                                Check all that apply.
          448 N. Sheridan                                               Contingent
          Valley Center, KS 67147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,356.64    $2,356.64
          Pappan, Eric                                               Check all that apply.
          28412 211th Rd                                                Contingent
          Dexter, KS 67038                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Pappan, Eric                                               Check all that apply.
          28412 211th Rd                                                Contingent
          Dexter, KS 67038                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,578.35    $1,578.35
          Penick, Scott                                              Check all that apply.
          4706 E. 25th St. N.                                           Contingent
          Wichita, KS 67220                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,100.00    $3,100.00
          Peregrine, Brandon                                         Check all that apply.
          502 Linden St.                                                Contingent
          Tarkio, MO 64491                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,789.61    $2,789.61
          Peregrine, Brandon                                         Check all that apply.
          502 Linden St.                                                Contingent
          Tarkio, MO 64491                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $635.34    $635.34
          Pierce, Johna                                              Check all that apply.
          715 S. Custer Ave.                                            Contingent
          Wichita, KS 67213                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,346.70    $1,346.70
          Pillion, Jarod                                             Check all that apply.
          808 Randolph Street                                           Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,274.49    $1,274.49
          Powers, Thomas                                             Check all that apply.
          4531 S. Martinson Ave.                                        Contingent
          Wichita, KS 67217                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $515.12    $515.12
          Prevatt, Eric                                              Check all that apply.
          10 Randsdell Ct                                               Contingent
          Bedford, KY 40006                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $410.00    $410.00
          Prevatt, Eric                                              Check all that apply.
          10 Randsdell Ct                                               Contingent
          Bedford, KY 40006                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,451.44    $2,451.44
          Pruitt, Chris                                              Check all that apply.
          3218 N. Tee Time                                              Contingent
          Wichita, KS 67205                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,620.12    $3,620.12
          Roberts, Jason                                             Check all that apply.
          21175 US West Hwy 70                                          Contingent
          Valliant, OK 74764                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Roberts, Jason                                             Check all that apply.
          21175 US West Hwy 70                                          Contingent
          Valliant, OK 74764                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $709.11    $709.11
          Robinson, Jami                                             Check all that apply.
          11610 E. 69th Str. N                                          Contingent
          Owasso, OK 74055                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.00    $328.00
          Robinson, Jami                                             Check all that apply.
          11610 E. 69th Str. N                                          Contingent
          Owasso, OK 74055                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Rueger, Dan                                                Check all that apply.
          2706 Robin Ridge                                              Contingent
          Enid, OK 73703                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,529.97    $1,529.97
          Searles, Michael                                           Check all that apply.
          504 E Duke St.                                                Contingent
          Hugo, OK 74743                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Searles, Michael                                           Check all that apply.
          504 E Duke St.                                                Contingent
          Hugo, OK 74743                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $250.00    $250.00
          Secretary of State - IL                                    Check all that apply.
          Department of Business Services                               Contingent
          Limited                                                       Unliquidated
          501 S Second St Rm 351                                        Disputed
          Springfield, IL 62756
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Government Agency
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $18,465.79    $18,465.79
          Sedgwick County Treasurer                                  Check all that apply.
          P.O. Box 2961                                                 Contingent
          Wichita, KS 67201-2961                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Government Agency
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,986.82    $3,986.82
          Selman, Dale                                               Check all that apply.
          P.O. Box 982                                                  Contingent
          Hugo, OK 74743                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,800.00    $3,800.00
          Selman, Dale                                               Check all that apply.
          P.O. Box 982                                                  Contingent
          Hugo, OK 74743                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,613.31    $4,613.31
          Shelton, Caleb                                             Check all that apply.
          442757 E. 160 Rd.                                             Contingent
          Bluejacket, OK 74333                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,864.39    $2,864.39
          Shelton, Caleb                                             Check all that apply.
          442757 E. 160 Rd.                                             Contingent
          Bluejacket, OK 74333                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,812.75    $1,812.75
          Shields, Zachary                                           Check all that apply.
          1108 S. Commercial Lot 19                                     Contingent
          Oswego, KS 67356                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Shields, Zachary                                           Check all that apply.
          1108 S. Commercial Lot 19                                     Contingent
          Oswego, KS 67356                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Skillman, Brian                                            Check all that apply.
          8460 S. Ash Circle                                            Contingent
          Haysville, KS 67060                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $607.20    $0.00
          State of Louisiana - LDEQ                                  Check all that apply.
          Financial Services Division                                   Contingent
          P.O. Box 4311                                                 Unliquidated
          Baton Rouge, LA 70821-4311                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Government Agency
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,968.00    $1,968.00
          Stewart, Eric                                              Check all that apply.
          329 Poplar Rd                                                 Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,521.89    $1,521.89
          Stewart, Eric                                              Check all that apply.
          329 Poplar Rd                                                 Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,927.81    $2,927.81
          Supik, Joe                                                 Check all that apply.
          1230 W. 7th Pl                                                Contingent
          Hobart, IN 46342                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,351.73    $2,351.73
          Supik, Joe                                                 Check all that apply.
          1230 W. 7th Pl                                                Contingent
          Hobart, IN 46342                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,640.00    $1,640.00
          Taylor, Joan Marie                                         Check all that apply.
          PO Box 574                                                    Contingent
          Fieldale, VA 24089                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,274.73    $1,274.73
          Taylor, Joan Marie                                         Check all that apply.
          PO Box 574                                                    Contingent
          Fieldale, VA 24089                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,968.00    $1,968.00
          Taylor, Robert                                             Check all that apply.
          PO Box 574                                                    Contingent
          Fieldale, VA 24089                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,596.84    $1,596.84
          Taylor, Robert                                             Check all that apply.
          PO Box 574                                                    Contingent
          Fieldale, VA 24089                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $246.00    $246.00
          Tennessee Department of Revenue                            Check all that apply.
          Andrew Jackson State Office Bldg                              Contingent
          500 Deaderick Street                                          Unliquidated
          Nashville, TN 37242                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax Liability
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Trego, Scott                                               Check all that apply.
          324 Greenwood Ct                                              Contingent
          Cheney, KS 67025                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,364.45    $2,364.45
          Tripp, Loren                                               Check all that apply.
          121 Park Street                                               Contingent
          Fordland, MO 65652                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,312.00    $1,312.00
          Tripp, Loren                                               Check all that apply.
          121 Park Street                                               Contingent
          Fordland, MO 65652                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,519.87    $2,519.87
          Ulery, Kiel                                                Check all that apply.
          963 Main St                                                   Contingent
          Auburn, IL 62615                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          Ulery, Kiel                                                Check all that apply.
          963 Main St                                                   Contingent
          Auburn, IL 62615                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,571.70    $1,571.70
          Verbeck, Todd                                              Check all that apply.
          PO Box 220                                                    Contingent
          Sedgwick, KS 67135                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $50,000.00    $50,000.00
          Vogel, Eric                                                Check all that apply.
          702 Trotter                                                   Contingent
          Maize, KS 67101                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Owner
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,007.82    $3,007.82
          Vogel, Matt                                                Check all that apply.
          2506 E Kite                                                   Contingent
          Wichita, KS 67219                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,912.49    $2,912.49
          White, Matthew                                             Check all that apply.
          852 N. 4410 Rd                                                Contingent
          Fort Towson, OK 74735                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,476.00    $1,476.00
          White, Matthew                                             Check all that apply.
          852 N. 4410 Rd                                                Contingent
          Fort Towson, OK 74735                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,143.19    $2,143.19
          Wiebe, Zac                                                 Check all that apply.
          16452 NW Tawakoni Rd                                          Contingent
          Newton, KS 67114                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $410.00    $410.00
          Wiggans, Donnie                                            Check all that apply.
          711 Randolph                                                  Contingent
          Bronson, KS 66716                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,380.86    $3,380.86
          Wingerd, Gordon                                            Check all that apply.
          3 Valley Oaks                                                 Contingent
          Valley Center, KS 67147                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)   16-10759
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 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $907.67    $907.67
          Wisconsin Department of Revenue                            Check all that apply.
          PO Box 930208                                                 Contingent
          Milwaukee, WI 53293-0208                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax Liability
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $442.63    $442.63
          Woodman, Jesse                                             Check all that apply.
          1817 Grand                                                    Contingent
          Parsons, KS 67357                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Payroll
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.00    $328.00
          Woodman, Jesse                                             Check all that apply.
          1817 Grand                                                    Contingent
          Parsons, KS 67357                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,968.00    $1,968.00
          Woosley, Thomas                                            Check all that apply.
          227 E Arthur St                                               Contingent
          Blair, NE 68008                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee - Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       WB Services, LLC                                                                                Case number (if known)          16-10759
              Name

 2.179     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,271.23    $1,271.23
           Woosley, Thomas                                           Check all that apply.
           227 E Arthur St                                              Contingent
           Blair, NE 68008                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee - Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.180     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,394.00    $1,394.00
           Wulff, Austin                                             Check all that apply.
           51 County Rd 6300                                            Contingent
           Salem, MO 65560                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee - Reimbursement
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.181     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $909.41     $909.41
           Wulff, Austin                                             Check all that apply.
           51 County Rd 6300                                            Contingent
           Salem, MO 65560                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee - Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,648.00
           A&H Air Conditioning, Inc.                                                  Contingent
           1717 College Street                                                         Unliquidated
           Baldwin City, KS 66006                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Unsecured
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $99.00
           A-Relief Services, Inc.                                                     Contingent
           3802 Ft. Crook Road South                                                   Unliquidated
           P.O. Box 878                                                                Disputed
           Bellevue, NE 68005
                                                                                   Basis for the claim:     Unsecured
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $395.00
          AAA Disposal                                                          Contingent
          PO Box 109                                                            Unliquidated
          Oak Grove, MO 64075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Adkins Energy, LLC                                                    Contingent
          4350 W Galena Rd                                                      Unliquidated
          Lena, IL 61048                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Advanced BioEnergy, LLC - Aberdeen                                    Contingent
          38469 133rd St                                                        Unliquidated
          Aberdeen, SD 57401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,578.62
          AimNorth Communications, Inc                                          Contingent
          12295 SW 90th St                                                      Unliquidated
          Andover, KS 67002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,554.86
          Air Capital Equipment, Inc.                                           Contingent
          806 E. Boston                                                         Unliquidated
          Wichita, KS 67211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $598.76
          Airgas Mid America                                                    Contingent
          P.O. Box 802576                                                       Unliquidated
          Chicago, IL 60680-2615                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,625.16
          Airgas Mid South, Inc.                                                Contingent
          PO Box 676015                                                         Unliquidated
          Dallas, TX 75267-6015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,739.40
          Allen, Gibbs & Houlik, L.C.                                           Contingent
          301 N. Main, Suite 1700                                               Unliquidated
          Wichita, KS 67202-4868                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,641.69
          AMACS (Amistco Sep Products)                                          Contingent
          Lockbox# 677205                                                       Unliquidated
          Dallas, TX 75267-7205                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          American Coalition for Ethanol                                        Contingent
          5000 S Broadband Lane                                                 Unliquidated
          Suite 224                                                             Disputed
          Sioux Falls, SD 57108
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,097.84
          American Express                                                      Contingent
          PO Box 360001                                                         Unliquidated
          Ft Lauderdale, FL 33336-0001                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,105.00
          American Systems, Inc.                                                Contingent
          5200 E 45th St                                                        Unliquidated
          Kansas City, MO 64130                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Andersons Clymers Ethanol LLC, The                                    Contingent
          3389 W County RD 300 S                                                Unliquidated
          Logansport, IN 46947                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,238.90
          Anton Paar                                                            Contingent
          10215 Timber Ridge Drive                                              Unliquidated
          Ashland, VA 23005                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $224,916.90
          Apache Stainless Equipment Corp.                                      Contingent
          200 Industrial Drive                                                  Unliquidated
          Beaver Dam, WI 53916                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $466.69
          Applied Industrial Technologies                                       Contingent
          22510 Network Place                                                   Unliquidated
          Chicago, IL 60673-1225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,019.35
          Arkema, Inc                                                           Contingent
          P.O. Box 841334                                                       Unliquidated
          Dallas, TX 75284-1334                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139.40
          AT&T U-verse                                                          Contingent
          PO Box 5014                                                           Unliquidated
          Carol Stream, IL 60197-5014                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,097.10
          B & M Steel & Welding                                                 Contingent
          P.O Box 405                                                           Unliquidated
          Union City, IN 47390                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,825.00
          Barnhart Crane                                                        Contingent
          P.O. Box 2153                                                         Unliquidated
          Dept. 1906                                                            Disputed
          Birmingham, AL 35287-1906
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,750.00
          Baughman Company                                                      Contingent
          315 Eillis                                                            Unliquidated
          Wichita, KS 67211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $293,097.71
          Beemiller, Ron                                                        Contingent
          2642 N Northshore Circle                                              Unliquidated
          Wichita, KS 67205                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Owner loans to company
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $825.00
          Belger Cartage Service, Inc.                                          Contingent
          P.O. Box 534                                                          Unliquidated
          Bedford Park, IL 60499                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.95
          Bell Mirror & Glass, Inc.                                             Contingent
          1702 S. Seneca                                                        Unliquidated
          Wichita, KS 67213                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,827.04
          Belt, Richard                                                         Contingent
          6451 S 215th West                                                     Unliquidated
          Viola, KS 67149                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,826.77
          Berry Material Handling                                               Contingent
          3769 McCormick                                                        Unliquidated
          Wichita, KS 67213                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,235.25
          Best Supply                                                           Contingent
          1545 East 29th Street North                                           Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $333.00
          Best Way Disposal, Inc.                                               Contingent
          7256 W CR-600 S                                                       Unliquidated
          Modoc, IN 47358                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,141.09
          Big River Rubber & Gasket, Inc.                                       Contingent
          PO Box 369                                                            Unliquidated
          Owensboro, KY 42302                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $835.60
          Big Tool Store LLC                                                    Contingent
          4640 E 63rd St S                                                      Unliquidated
          Derby, KS 67037                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,014.33
          Bilfinger Water Tech (Johnson Screens)                                Contingent
          Dept. 3482                                                            Unliquidated
          PO Box 123482                                                         Disputed
          Dallas, TX 75312-3482
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $178.95
          Blu-John.com, Inc.                                                    Contingent
          257 Castleberry Industrial Drive                                      Unliquidated
          Cummings, GA 30040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,487.09
          BlueLine Rental, LLC                                                  Contingent
          PO Box 840062                                                         Unliquidated
          Dallas, TX 75284-0062                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,156.35
          Born, Inc.                                                            Contingent
          5410 S. 49th W. Ave                                                   Unliquidated
          Tulsa, OK 74107                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $541,227.59
          Bowman Construction Co., Inc.                                         Contingent
          P.O. Box 387                                                          Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,740.67
          Brace Integrated Services                                             Contingent
          7050 South 110th Street                                               Unliquidated
          LaVista, NE 68128                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,008.01
          Brand Plumbing                                                        Contingent
          2418 S. Hoover                                                        Unliquidated
          Wichita, KS 67215                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bridgeport Ethanol, LLC                                               Contingent
          9216 County Rd 90                                                     Unliquidated
          Bridgeport, NE 69336                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,345.00
          Briner Building, Inc.                                                 Contingent
          761 North Main Street                                                 Unliquidated
          Bluffton, IN 46714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,120.65
          BS&B Safety Systems, LLC                                              Contingent
          PO Box 973042                                                         Unliquidated
          Dallas, TX 75397-3042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,697.99
          Budget Rent A Car                                                     Contingent
          14297 Collections Center Dr.                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.26
          Budget Rent A Car Wichita                                             Contingent
          1895 Midfield Rd                                                      Unliquidated
          Wichita, KS 67209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,601.93
          Burris Fabrication                                                    Contingent
          612 N. Jackson                                                        Unliquidated
          Sedgwick, KS 67135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          Business Computer Skills                                              Contingent
          2340 S Arlington Heights Rd                                           Unliquidated
          Suite 440                                                             Disputed
          Arlington Heights, IL 60005
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,710.65
          Calvin Opp Concrete, Inc.                                             Contingent
          1375 S. Bebe St.                                                      Unliquidated
          Wichita, KS 67209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.00
          Can It Services, LLC                                                  Contingent
          24927 Farnam Circle                                                   Unliquidated
          Waterloo, NE 68069-4693                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cardinal Ethanol                                                      Contingent
          1554 N. 600 East                                                      Unliquidated
          Union City, IN 47390                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,846.00
          CCI Thermal Technologies Inc.                                         Contingent
          C/O BTU Company                                                       Unliquidated
          5918 Roper Road                                                       Disputed
          Edmonton, AB T6B 3E1
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.40
          Cedar Valley Metal Supply LLC                                         Contingent
          20102 NW 1600 Road                                                    Unliquidated
          Garnett, KS 66032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,100.00
          CenCon of Kansas, LLC                                                 Contingent
          1335 East Ridge Road                                                  Unliquidated
          P.O. Box 385                                                          Disputed
          Kensington, KS 66951
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Central Indiana Ethanol, LLC                                          Contingent
          2955 West Delphi Pike                                                 Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,004.93
          Central States Group                                                  Contingent
          PO Box 30047                                                          Unliquidated
          Omaha, NE 68103                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $374.33
          CenturyLink                                                           Contingent
          PO Box 2961                                                           Unliquidated
          Phoenix, AZ 85062-2961                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,741.06
          Chase Card Services                                                   Contingent
          P.O. Box 94014                                                        Unliquidated
          Palatine, IL 60094-4014                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          CHS, Inc                                                              Contingent
          1900 Steward Rd                                                       Unliquidated
          Rochelle, IL 61068                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,054.24
          Cirus Water / Roaster Joe's                                           Contingent
          8225 W Irving St                                                      Unliquidated
          Wichita, KS 67209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $526.76
          Classic Forms & Design Co.                                            Contingent
          2417 W. 13th St                                                       Unliquidated
          Wichita, KS 67203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Clerk of the District Court                                           Contingent
          ATTN: Attorney Registration Administrati                              Unliquidated
          525 North Main, 11th Floor                                            Disputed
          Wichita, KS 67203
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,520.00
          Coating Specialties, LLC                                              Contingent
          P.O Box 281                                                           Unliquidated
          Alexandria, MN 56308                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,221.20
          Coleman Materials LLC                                                 Contingent
          P.O. Box 771481                                                       Unliquidated
          Wichita, KS 67213                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,184.52
          Control-Tech Inc.                                                     Contingent
          8938 N. Prairie Pointe Rd.                                            Unliquidated
          Peoria, IL 61615-1574                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $782.25
          Corecon Technologies, Inc.                                            Contingent
          5912 Bolsa Avenue                                                     Unliquidated
          Suite 109                                                             Disputed
          Huntington Beach, CA 92649
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CORN, LP                                                              Contingent
          PO Box 280                                                            Unliquidated
          Goldfield, IA 50542                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,784.00
          Corporation Service Company                                           Contingent
          PO Box 13397                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $458,730.00
          Cotting Industries, Inc.                                              Contingent
          406 Windmont Dr NE                                                    Unliquidated
          Atlanta, GA 30329                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,153.75
          Coyle Supply, Inc                                                     Contingent
          3721 State Route 162                                                  Unliquidated
          Granite City, IL 62040                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,206.63
          D & K Tanks, LLC                                                      Contingent
          7875 N 600th St                                                       Unliquidated
          Robinson, IL 62454                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,621.06
          D & S Construction Enterprises, LLC                                   Contingent
          P.O. Box 114                                                          Unliquidated
          Greeley, KS 66033                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,633.00
          DBI Inc.                                                              Contingent
          5330 N. 57th Street                                                   Unliquidated
          Lincoln, NE 68507                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,871.25
          DCD Services LLC.                                                     Contingent
          PO Box 12067                                                          Unliquidated
          Wichita, KS 67277-2077                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $805,722.83
          Decker Electric Inc                                                   Contingent
          4500 West Harry                                                       Unliquidated
          Wichita, KS 67209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,282.80
          Delta of Georgia, Inc.                                                Contingent
          P.O. Box 47133                                                        Unliquidated
          Atlanta, GA 30362                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $494.43
          Depco Pump Company Inc.                                               Contingent
          P.O. Box 6820                                                         Unliquidated
          Clearwater, FL 33758                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,399.53
          Digital Office Systems                                                Contingent
          530 S. Hydraulic                                                      Unliquidated
          Wichita, KS 67135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,495.00
          Dore Electric                                                         Contingent
          3636 N. Topeka                                                        Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,375.68
          E & H Piping LLC                                                      Contingent
          PO Box 6                                                              Unliquidated
          Hanley Falls, MN 56245                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,610.00
          EAPC Industrial Services                                              Contingent
          3100 DeMers Ave                                                       Unliquidated
          Grand Forks, ND 58201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          East Kansas Agri-Energy, LLC                                          Contingent
          1304 Main Street                                                      Unliquidated
          Garnett, KS 66032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,745.00
          Electro Controls Inc                                                  Contingent
          PO Box 539                                                            Unliquidated
          Sidney, OH 45365                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $131,069.50
          EMC Insurance Companies                                               Contingent
          P.O. Box 1739                                                         Unliquidated
          Wichita, KS 67201-1739                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,782.96
          Enegren                                                               Contingent
          6730 W Kellogg Suite 3                                                Unliquidated
          Wichita, KS 67209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,064.79
          Enpro, Inc.                                                           Contingent
          75 Remittance Dr., St 1270                                            Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,422.50
          Equity Engineering Group, Inc, The                                    Contingent
          20600 Chagrin Blvd.                                                   Unliquidated
          Suite 1200                                                            Disputed
          Shaker Heights, OH 44122
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ERI Solutions Inc                                                     Contingent
          125 N First Street                                                    Unliquidated
          Colwich, KS 67030                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,474.84
          Experitec, Inc.                                                       Contingent
          PO Box 18341M                                                         Unliquidated
          Saint Louis, MO 63195                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,570.61
          F & H Insulation                                                      Contingent
          PO Box 250                                                            Unliquidated
          Kechi, KS 67067                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,647.00
          Fabsco Fin Air, LLC                                                   Contingent
          PO Box 988                                                            Unliquidated
          Sapulpa, OK 74066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          FABWELL CORPORATION                                                   Contingent
          8410 S. REGENCY DRIVE                                                 Unliquidated
          TULSA, OK 74131                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $379.90
          Fahnestock Plumbing, Inc.                                             Contingent
          3532 N Comotara                                                       Unliquidated
          Wichita, KS 67226                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,013.82
          Farris Engineering                                                    Contingent
          PO Box 360751M                                                        Unliquidated
          Pittsburgh, PA 15230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,445.43
          Fastenal                                                              Contingent
          P.O. Box 1286                                                         Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,427.14
          FedEx                                                                 Contingent
          P O Box 94515                                                         Unliquidated
          Palatine, IL 60094-4515                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,093.60
          Ferguson Enterprises, Inc.                                            Contingent
          PO Box 802817                                                         Unliquidated
          Chicago, IL 60680-2817                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,979.46
          First Insurance Funding Corp                                          Contingent
          P.O. Box 66468                                                        Unliquidated
          Chicago, IL 60666-0468                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,728.69
          Flexi-Liner                                                           Contingent
          4821 Chino Ave                                                        Unliquidated
          Chino, CA 91710                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,858.90
          Flottweg Separation Technology Inc.                                   Contingent
          PO Box 706301                                                         Unliquidated
          Cincinnati, OH 45270-6301                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,936.95
          Fluid Conditioning, Inc.                                              Contingent
          PO Box 338                                                            Unliquidated
          East Aurora, NY 14052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $728.00
          Foerster Testing Limited                                              Contingent
          1511 Doral Dr.                                                        Unliquidated
          Brookings, SD 57006                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,920.00
          Foulston Siefkin LLP                                                  Contingent
          1551 #100, Waterfront                                                 Unliquidated
          Wichita, KS 67206                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,916.87
          Fremar Corporation                                                    Contingent
          5720 N. Broadway                                                      Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Front Range Energy                                                    Contingent
          31375 Great Western Dr                                                Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          G & F Construction                                                    Contingent
          118 E. Harry                                                          Unliquidated
          Wichita, KS 67211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Gagnon, Inc                                                           Contingent
          2315 Hampden Avenue                                                   Unliquidated
          St. Paul, MN 55114                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,427.21
          Garnett True Value                                                    Contingent
          Box 374                                                               Unliquidated
          Garnett, KS 66032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,127.00
          Gilbert Industries, Inc.                                              Contingent
          PO Box 680                                                            Unliquidated
          Sparta, MO 65753                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,533.06
          Global Industrial                                                     Contingent
          29833 Network Place                                                   Unliquidated
          Chicago, IL 60673-1298                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $398.29
          Grainger                                                              Contingent
          Dept. 878310622                                                       Unliquidated
          P. O. Box 419267                                                      Disputed
          Kansas City, MO 64141-6267
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,569.59
          Green Energy Products, LLC                                            Contingent
          250 East Industrial                                                   Unliquidated
          Sedgwick, KS 67135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,952.55
          HAJOCA                                                                Contingent
          PO Box 2017                                                           Unliquidated
          Wichita, KS 67201-2017                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,882.00
          Haldeman-Homme, Inc.                                                  Contingent
          430 Industrial Blvd                                                   Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $391,056.71
          Haldor Topsoe, Inc.                                                   Contingent
          17629 El Camino Real                                                  Unliquidated
          Suite 300                                                             Disputed
          Houston, TX 77058
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $337.88
          Hammel Scale Co., Inc.                                                Contingent
          1530 N Mosley                                                         Unliquidated
          Wichita, KS 67214                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,787.45
          High Reach Equipment, LLC                                             Contingent
          3624 W 30th St South                                                  Unliquidated
          Wichita, KS 67217                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,512.00
          Hollow Metal Door Co.                                                 Contingent
          Box 780687                                                            Unliquidated
          Wichita, KS 67278                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,735.00
          Hovey Williams LLP                                                    Contingent
          10801 Mastiv Blvd Suite 1000                                          Unliquidated
          84 Corporate Woods                                                    Disputed
          Overland Park, KS 66210
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          HTH Companies Inc.                                                    Contingent
          239 Rock Industrial Blvd.                                             Unliquidated
          Union, MO 63084                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,507.00
          Hughes Machinery Company (FCX
          Performanc                                                            Contingent
          FCX Performance, Inc.                                                 Unliquidated
          P.O. Box 712465                                                       Disputed
          Cincinnati, OH 45271-2465
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,403.09
          ICM, Inc                                                              Contingent
          310 North First Street                                                Unliquidated
          Colwich, KS 67030                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,535.60
          Ideal Refuse & Roll Off Service                                       Contingent
          P.O. Box 1753                                                         Unliquidated
          Hays, KS 67601                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,479.52
          IHS Global Inc.                                                       Contingent
          P.O. Box 911501                                                       Unliquidated
          Denver, CO 80291-1501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,750.00
          IMA                                                                   Contingent
          P.O. Box 2992                                                         Unliquidated
          Wichita, KS 67201-2992                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Indiana Steel Fabricating, Inc.                                       Contingent
          P.O. Box 421547                                                       Unliquidated
          Indianapolis, IN 46242-1547                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,365.00
          Industrial Process Systems                                            Contingent
          1980 Linn Street                                                      Unliquidated
          Kansas City, MO 64116                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,411.33
          International Fire Protection, Inc                                    Contingent
          243 Royal Drive                                                       Unliquidated
          Madison, AL 35758                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Iowa Renewable Fuels Association                                      Contingent
          5505 NW 88th Street #100                                              Unliquidated
          Johnston, IA 50131-2948                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Iroquois Bio-Energy Company, LLC                                      Contingent
          PO Box 218                                                            Unliquidated
          Rensselaer, IN 47978                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $787.50
          J&J Crane Rental, Inc.                                                Contingent
          7522 N. 1250 W                                                        Unliquidated
          Monticello, IN 47960                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,567.52
          JCI Industries, Inc.                                                  Contingent
          P.O. Box 411114                                                       Unliquidated
          Kansas City, MO 64141                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,415.00
          JFD Tube & Coil Products, Inc.                                        Contingent
          7 Hamden Park Drive                                                   Unliquidated
          Hamden, CT 06517                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,653.45
          Jogler, LLC                                                           Contingent
          6646 Complex Drive                                                    Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,249.78
          Johnson Controls, Inc.                                                Contingent
          PO Box 730068                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KAAPA Ethanol, L.L.C.                                                 Contingent
          8450 KAAPA Lane                                                       Unliquidated
          Minden, NE 68954                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $432.30
          Kansas Carpet & Tile, INC.                                            Contingent
          1901 S Southwest BLVD                                                 Unliquidated
          Wichita, KS 67213                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,185.63
          Kansas City Valve & Fitting Co., Inc.                                 Contingent
          PO Box 19355                                                          Unliquidated
          Lenexa, KS 66215                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kansas Ethanol, LLC                                                   Contingent
          1630 Ave Q                                                            Unliquidated
          Lyons, KS 67554                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $444.55
          Kansas Gas Service                                                    Contingent
          P.O. Box 219046                                                       Unliquidated
          Kansas City, MO 64121-9046                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,211.15
          Kansas Underground                                                    Contingent
          301 W. 53rd St. North                                                 Unliquidated
          Wichita, KS 67204                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $669.67
          Kenny Pipe & Supply Inc                                               Contingent
          P.O. Box 306170                                                       Unliquidated
          Nashville, TN 37230-6170                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $149,969.95
          Kice Industries Inc.                                                  Contingent
          5500 Mill Heights Drive                                               Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,413.10
          Koch-Glitsch, LP                                                      Contingent
          PO Box 915034                                                         Unliquidated
          Dallas, TX 75391-5034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $557.00
          Kruse Corporation                                                     Contingent
          3636 N. Topeka                                                        Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43.26
          Kurts Super Service                                                   Contingent
          9029 S. Emma Creek Road                                               Unliquidated
          Sedgwick, KS 67135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,198.80
          L&K Services, Inc                                                     Contingent
          510 S First St                                                        Unliquidated
          Louisburg, KS 66053                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lawrenceville Tank, LLC                                               Contingent
          1157 Valley Park Drive S.                                             Unliquidated
          Suite 100                                                             Disputed
          Shakopee, MN 55379
                                                                             Basis for the claim:    Customer
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26.87
          Ledford Gage Laboratory Inc                                           Contingent
          PO Box 100                                                            Unliquidated
          Mulvane, KS 67110                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160.00
          Lewis Goetz and Company Inc.                                          Contingent
          PO Box 644819                                                         Unliquidated
          Pittsburg, PA 15264-4819                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128.90
          Lilie's Flowers                                                       Contingent
          2031 W 21st Street                                                    Unliquidated
          Wichita, KS 67203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Little Sioux Corn Processors, LLLP                                    Contingent
          4808 F Ave                                                            Unliquidated
          Marcus, IA 51035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,754.54
          Lowe's                                                                Contingent
          P.O. Box 530954                                                       Unliquidated
          Atlanta, GA 30353-0954                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $412.00
          M & M Waste, Inc.                                                     Contingent
          1328 Lakewood Avenue SE                                               Unliquidated
          Atlanta, GA 30315                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $412.78
          M&M Repair                                                            Contingent
          PO Box 25                                                             Unliquidated
          Sedgwick, KS 67135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $626.91
          M6 Concrete Accessories                                               Contingent
          1030 S McComas                                                        Unliquidated
          Wichita, KS 67213                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $78,983.75
          Mach Engineering, LLC                                                 Contingent
          6124 Hwy 6 North #172                                                 Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,294.77
          Madden Rental                                                         Contingent
          3959 Neosho Rd                                                        Unliquidated
          Ottawa, KS 66067                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Martin Machine & Welding Inc.                                         Contingent
          900 North Street                                                      Unliquidated
          Halstead, KS 67056                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $816.86
          Master Controls                                                       Contingent
          PO Box 217                                                            Unliquidated
          Granville, OH 43023                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,206.36
          Matheson/Tri-Gas Inc.                                                 Contingent
          Dept 3028 PO Box 123028                                               Unliquidated
          Dallas, TX 75312                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,540.00
          Mayer Specialty Services LLC                                          Contingent
          PO Box 469                                                            Unliquidated
          Goddard, KS 67052                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $545.11
          McDaniel Co. Inc.                                                     Contingent
          4301 W Harry                                                          Unliquidated
          Wichita, KS 67277                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $180.00
          MDM Shelters LLC                                                      Contingent
          105 Woodmont Road                                                     Unliquidated
          Milford, CT 06460                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,735.68
          Mead O'Brien, Inc.                                                    Contingent
          PO Box 412461                                                         Unliquidated
          Kansas City, MO 64141-2461                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,758.44
          Metrohm USA                                                           Contingent
          PO Box 405562                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $293.47
          Mid-Continent Safety LLC                                              Contingent
          PO Box 201791                                                         Unliquidated
          Dallas, TX 75320-1791                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mid-Missouri Energy, LLC                                              Contingent
          15311 N. Saline Hwy 65                                                Unliquidated
          Malta Bend, MO 35339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9.38
          Mid-States Supply Company Inc                                         Contingent
          NW6275                                                                Unliquidated
          P.O. Box 1450                                                         Disputed
          Minneapolis, MN 55485-6275
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $554,661.15
          Mid-Tec, Inc.                                                         Contingent
          2274 S Business Hwy 71                                                Unliquidated
          Anderson, MO 64831                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $435.00
          Midland Steel Company                                                 Contingent
          PO Box 527                                                            Unliquidated
          Wathena, KS 66090                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,075.00
          Midwest Crane & Rigging LLC                                           Contingent
          15520 S. Mahaffie                                                     Unliquidated
          Olathe, KS 66062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93.00
          Midwest Laboratories                                                  Contingent
          13611 B Street                                                        Unliquidated
          Omaha, NE 68144                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $236.25
          Midwest Rentals Inc.                                                  Contingent
          3312 Klondike Rd                                                      Unliquidated
          West Lafayette, IN 47906                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,061.00
          Midwest Steel Fabricators                                             Contingent
          PO Box 67025                                                          Unliquidated
          Topeka, KS 66667                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $319,720.94
          Mitternight, Inc                                                      Contingent
          PO Box 489                                                            Unliquidated
          Satsuma, AL 36572                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,943.11
          MJE LLC (Max Jantz)                                                   Contingent
          26503 11 Rd.                                                          Unliquidated
          Montezuma, KS 67867                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,200.00
          Moore Iron & Steel Corp                                               Contingent
          201 W. Charleston                                                     Unliquidated
          Yale, OK 74085                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.50
          Mr. OutHouse                                                          Contingent
          16360 W. Lanark Dr                                                    Unliquidated
          Forreston, IL 61030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,753.96
          MRC Global Inc.                                                       Contingent
          PO Box 513                                                            Unliquidated
          Charleston, WV 25322                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $794.21
          Multi Service Aviation                                                Contingent
          12800 Foster Street                                                   Unliquidated
          Overland Park, KS 66213-2623                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2.40
          National Board                                                        Contingent
          Attn: Accreditation Dept.                                             Unliquidated
          1055 Crupper Avenue                                                   Disputed
          Columbus, OH 43229-1183
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,710.00
          National Fire Suppression                                             Contingent
          501 Sunshine Rd.                                                      Unliquidated
          Kansas City, KS 66115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,932.56
          NCK Quarries, LLC                                                     Contingent
          414 E Kansas Ave                                                      Unliquidated
          Smith Center, KS 66967                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,386.00
          New York Blower Co., The                                              Contingent
          7660 Quincy St.                                                       Unliquidated
          Willowbrook, IL 60527                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $757.66
          Office Depot                                                          Contingent
          PO Box 660113                                                         Unliquidated
          Dallas, TX 75266-0113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,477.50
          On Site Stress Relieving Services (OSR)                               Contingent
          PO Box 891365                                                         Unliquidated
          Houston, TX 77289                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $105,117.15
          P4 Consulting LLC                                                     Contingent
          P.O. Box 3388                                                         Unliquidated
          Durango, CO 81302                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pacific Ethanol Columbia, LLC                                         Contingent
          400 Capitol Mall                                                      Unliquidated
          Suite 2060                                                            Disputed
          Sacramento, CA 95814
                                                                             Basis for the claim:    Customer
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,830.60
          Par Piping & Fabrication LLC                                          Contingent
          PO Box 57                                                             Unliquidated
          Granite Falls, MN 56241                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65.00
          Pinnacle Mechanical Services, LLC                                     Contingent
          PO Box 16571                                                          Unliquidated
          Wichita, KS 67216                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,080.50
          Piping Contractors of Kansas, Inc.                                    Contingent
          PO Box 2113                                                           Unliquidated
          Topeka, KS 66601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,599.50
          Piping Technology & Products, Inc.                                    Contingent
          PO Box 34506                                                          Unliquidated
          Houston, TX 77051                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,624.04
          Plant Maintenance Services                                            Contingent
          2 Ultraway Drive                                                      Unliquidated
          Highland, IL 62249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,343.97
          Power Specialties, Inc.                                               Contingent
          P.O. Box 9566                                                         Unliquidated
          Raytown, MO 64133-0366                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Prairie Horizon Advanced Fuels                                        Contingent
          1664 East 100 Rd                                                      Unliquidated
          Phillipsburg, KS 67661                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Prairie Horizon Agri-Energy, LLC                                      Contingent
          P.O. Box 368                                                          Unliquidated
          1664 East 100 Road                                                    Disputed
          Phillipsburg, KS 67661
                                                                             Basis for the claim:    Customer
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,413.97
          Praxair Dist                                                          Contingent
          Dept CH 106                                                           Unliquidated
          Palatine, IL 60055-0660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $749.25
          Precision Administrators, Inc.                                        Contingent
          P.O. Box 1732                                                         Unliquidated
          Stillwater, OK 74076                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,065.74
          Precision Fitting and Gauge Co.                                       Contingent
          PF&G Dept 3653                                                        Unliquidated
          Tulsa, OK 74182                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,950.00
          Precision Planning, Inc.                                              Contingent
          400 Pike Boulevard                                                    Unliquidated
          Lawrenceville, GA 30046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,089.64
          Premier Industries, Inc.                                              Contingent
          PO Box 22                                                             Unliquidated
          North Sioux City, SD 57049                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,789.00
          Pricewaterhouse Coopers LLC                                           Contingent
          PO Box 75647                                                          Unliquidated
          Chicago, IL 60675-5647                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $118.78
          Pride Ag Resources (TMC Ace Maize)                                    Contingent
          710 W Trail St.                                                       Unliquidated
          Dodge City, KS 67801-5419                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,724.90
          Process Equipment & Controls, Inc.                                    Contingent
          15954 S. Mur-Len Rd #312                                              Unliquidated
          Olathe, KS 66062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $172,312.87
          Professional Engineering Consultants                                  Contingent
          303 S. Topeka                                                         Unliquidated
          Wichita, KS 67202                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,766.03
          ProQuip, Inc.                                                         Contingent
          850 East Highland Road                                                Unliquidated
          Macedonia, OH 44056-2190                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,907.35
          Protego USA, Inc.                                                     Contingent
          497 Jessen Lane                                                       Unliquidated
          Charleston, SC 29492                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,442.46
          Pumping Solutions, Inc.                                               Contingent
          2850 West 139th Street                                                Unliquidated
          Blue Island, IL 60406                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,738.75
          PumpingSol, Inc.                                                      Contingent
          2230 Justin Trail                                                     Unliquidated
          Alpharetta, GA 30004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,387.34
          Quality Air Solutions                                                 Contingent
          14560 W. 99th Street                                                  Unliquidated
          Lenexa, KS 66215                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $187,579.74
          Quality Industrial Products, Inc.                                     Contingent
          14001 Norby Road                                                      Unliquidated
          Grandview, MO 64030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,941.20
          R. H. Marlin, Inc.                                                    Contingent
          2202 W. Thompson Rd.                                                  Unliquidated
          Indianapolis, IN 46217-9360                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Redfield Energy LLC                                                   Contingent
          PO Box 111                                                            Unliquidated
          Redfield, SD 57469                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RedGuard                                                              Contingent
          401 W 47th St S                                                       Unliquidated
          Wichita, KS 67217                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,475.77
          Reif Welding & Construction LLC                                       Contingent
          2850 Hwy 183                                                          Unliquidated
          Plainsville, KS 67663                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,913.48
          Reintjes & Hiter Co., Inc.                                            Contingent
          101 Sunshine Road                                                     Unliquidated
          Kansas City, KS 66115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,725.00
          Reliable Transport Solutions                                          Contingent
          346 NE Quimby Ave                                                     Unliquidated
          Suite 102                                                             Disputed
          Bend, OR 97701
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $431.48
          Republic Waste of Western Indiana                                     Contingent
          PO Box 9001099                                                        Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $107,755.68
          RIX Industries                                                        Contingent
          4900 Industrial Way                                                   Unliquidated
          Benicia, CA 94510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,304.32
          Rosemount Analytical, Inc.                                            Contingent
          22737 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,381.17
          RRS, LLC                                                              Contingent
          401 W 47th St                                                         Unliquidated
          Wichita, KS 67204                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $318.25
          Salisbury Supply                                                      Contingent
          PO Box 916                                                            Unliquidated
          Topeka, KS 66601-0916                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $846.30
          Sanilift Inc                                                          Contingent
          P.O. Box 388                                                          Unliquidated
          Maize, KS 67101                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,014.75
          Schlick Crane Co., Inc.                                               Contingent
          P.O. Box 1143                                                         Unliquidated
          Logansport, IN 46947                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,613.78
          Sentry Equipment Corp                                                 Contingent
          P.O. Box 8441                                                         Unliquidated
          Carol Stream, IL 60197-8441                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,072.16
          Sherwin-Williams                                                      Contingent
          2240 N Tyler Rd STE 300                                               Unliquidated
          Wichita, KS 67205-8702                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $318.15
          Shore's Oil Company                                                   Contingent
          P.O. Box 147                                                          Unliquidated
          Modoc, IN 47358                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Show Me Ethanol, LLC.                                                 Contingent
          26530 Highway 24 East                                                 Unliquidated
          Carrollton, MO 64633                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $210.38
          Shred-It Wichita                                                      Contingent
          PO Box 101007                                                         Unliquidated
          Pasadena, CA 91189-1007                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,893.27
          Sigma Engineers & Constructors, Inc.                                  Contingent
          11585 Lake Sherwood Ave N                                             Unliquidated
          Baton Rouge, LA 70816                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $546.00
          Sign Language Interpreting Services                                   Contingent
          PO Box 771577                                                         Unliquidated
          Wichita, KS 67277-1577                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SIRE - Southwest Iowa Renewable Energy                                Contingent
          10868 189th Street                                                    Unliquidated
          Council Bluffs, IA 51503                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,888.00
          Southern Mechanical Contractors, Inc.                                 Contingent
          4880 Hammermill Road                                                  Unliquidated
          Tucker, GA 30084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,004.06
          Southway Crane & Rigging, LLC                                         Contingent
          222 New Dunbar Road                                                   Unliquidated
          Byron, GA 31008                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,413.92
          Star Lumber & Supply                                                  Contingent
          PO Box 7712                                                           Unliquidated
          Wichita, KS 67277                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,719.15
          Star Marketing Inc                                                    Contingent
          PO Box 230                                                            Unliquidated
          Kaukauna, WI 54130                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,186.00
          Steel Building Sales LLC (Topline)                                    Contingent
          PO Box 726                                                            Unliquidated
          Andover, KS 67002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,546.13
          Steel Fabrications, Inc.                                              Contingent
          1640 E US Hwy 40 Byp                                                  Unliquidated
          Hays, KS 67601                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,533.06
          Steinberger Construction, Inc.                                        Contingent
          400 Water Street                                                      Unliquidated
          Logansport, IN 46947                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,420.10
          Stoc Products Inc                                                     Contingent
          7706 Industrial Ct                                                    Unliquidated
          Unit F                                                                Disputed
          Spring Grove, IL 60081-8278
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,624.97
          Sulzer Chemtech USA, Inc.                                             Contingent
          PO Box 849923                                                         Unliquidated
          Dallas, TX 75284-9923                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,847.95
          Sulzer Pumps Solutions, Inc.                                          Contingent
          PO Box 404622                                                         Unliquidated
          Atlanta, GA 30384-4622                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,522.31
          Sunbelt Rentals Inc                                                   Contingent
          P.O. Box 409211                                                       Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $663.23
          Superior Lamp Inc                                                     Contingent
          PO Box 566                                                            Unliquidated
          Moorhead, MN 56561-0566                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,383.07
          Surency                                                               Contingent
          PO Box 843810                                                         Unliquidated
          Kansas City, MO 64181-3810                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,978.37
          Swanson Flo                                                           Contingent
          Scott Simdorn                                                         Unliquidated
          151 Cheshire Ln. N.                                                   Disputed
          Plymouth, MN 55441
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,352.98
          SWS Environmental Services                                            Contingent
          P.O. Box 538498                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,736.50
          Team Industrial Services, Inc                                         Contingent
          P.O. Box 842233                                                       Unliquidated
          Dallas, TX 75284-2233                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,496.95
          Terracon Consultants, Inc.                                            Contingent
          P.O. Box 959673                                                       Unliquidated
          Kansas City, MO 63195                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,032.00
          Thermal Windows, Inc                                                  Contingent
          12805 E. 31st Street                                                  Unliquidated
          Tulsa, OK 74146                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,664.19
          Thorco Holdings, LLC                                                  Contingent
          PO Box 21228                                                          Unliquidated
          Dept 282                                                              Disputed
          Tulsa, OK 74121
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,307.00
          Titan Machinery                                                       Contingent
          6310 North 56th St                                                    Unliquidated
          Lincoln, NE 68504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,807.37
          Total Electric, Inc.                                                  Contingent
          1857 N Mosley                                                         Unliquidated
          Wichita, KS 67214                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Total Quality Logistics LLC                                           Contingent
          PO Box 634558                                                         Unliquidated
          Cincinati, OH 45263-4558                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,348.59
          Tranter Inc.                                                          Contingent
          Dept. 3275                                                            Unliquidated
          PO Box 123275                                                         Disputed
          Dallas, TX 75312-3275
                                                                             Basis for the claim:    Unsecured
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Trenton Agri Products LLC                                             Contingent
          2020 N. Bramblewood                                                   Unliquidated
          Wichita, KS 67206                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $501.24
          Triangle Engineering, Inc.                                            Contingent
          6 Industrial Way                                                      Unliquidated
          Hanover, MA 02339                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,170.00
          Trident Automation, Inc                                               Contingent
          1001 W. Kennedy Ave                                                   Unliquidated
          Kimberly, WI 54136                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,119.50
          Triplett, Woolf & Garretson, LLC                                      Contingent
          2959 N Rock Rd                                                        Unliquidated
          Wichita, KS 67226                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,175.00
          Tulsa Gamma Ray, Inc                                                  Contingent
          1127 S. Lewis Avenue                                                  Unliquidated
          Tulsa, OK 74104                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $435,351.50
          United Rentals                                                        Contingent
          PO Box 840514                                                         Unliquidated
          Dallas, TX 75284-0514                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,571.33
          US Logo                                                               Contingent
          520 North West Street                                                 Unliquidated
          Wichita, KS 67203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Valero Renewable Fuels Company, LLC                                   Contingent
          PO Box 696101                                                         Unliquidated
          San Antonio, TX 78269-6101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $240,716.05
          Valves and Industrial Resources, LLP                                  Contingent
          5959 S Sam Houston Pkwy E                                             Unliquidated
          Houston, TX 77048-5901                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,643.04
          Verizon Wireless                                                      Contingent
          PO Box 25505                                                          Unliquidated
          Lehigh Valley, PA 18002                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,068.81
          Vogel Ventures, LLC                                                   Contingent
          P.O. Box 400                                                          Unliquidated
          Maize, KS 67101-0400                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $459,000.00
          Vogel, Eric                                                           Contingent
          702 Trotter                                                           Unliquidated
          Maize, KS 67101                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    owner loans/stock purchase transfer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19.44
          W & M Welding, Inc.                                                   Contingent
          202 Industrial Road                                                   Unliquidated
          Sedalia, MO 65301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $505.28
          Waste Connections                                                     Contingent
          PO Box 660177                                                         Unliquidated
          Dallas, TX 75266-0177                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $799.20
          Waste Management                                                      Contingent
          PO Box 9001054                                                        Unliquidated
          Louisville, KY 40290-1054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $625,000.00
          WB Technologies, LLC                                                  Contingent
          2642 N Northshore Circle                                              Unliquidated
          Wichita, KS 67205                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34.50
          Welders Supply Company                                                Contingent
          P.O. Box 875                                                          Unliquidated
          Beloit, WI 53512-0875                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,260.00
          Wells Brothers, Inc.                                                  Contingent
          105 Shue Dr.                                                          Unliquidated
          Anna, OH 45302                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $549.73
          Westar Energy                                                         Contingent
          P.O. Box 758500                                                       Unliquidated
          Topeka, KS 66675-8500                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,798.78
          Westmor Fluid Solutions, LLC                                          Contingent
          14044 W Freeway Drive                                                 Unliquidated
          Columbus, MN 55038-9705                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,620.88
          WestMor Industries, LLC                                               Contingent
          P.O. Box 683                                                          Unliquidated
          Morris, MN 56267-0683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,427.59
          Wheeler Services Inc                                                  Contingent
          3535 Trotter Dr.                                                      Unliquidated
          Alpharetta, GA 30004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,350.00
          Wichita Coring & Cutting                                              Contingent
          PO Box 87-8489                                                        Unliquidated
          Kansas City, MO 64187-8489                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $430.00
          Wichita Fence Co., Inc.                                               Contingent
          4901 N. Broadway                                                      Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,307.51
          Williams Scotsman Inc.                                                Contingent
          P.O. Box 91975                                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,190.00
          Wilson & Company, Inc                                                 Contingent
          PO Box 3305                                                           Unliquidated
          Salina, KS 67402-3305                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.00
          Wimmer Land Surveys, Inc.                                             Contingent
          PO Box 547                                                            Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Winbco Tank Company                                                   Contingent
          P.O. Box 618                                                          Unliquidated
          Ottumwa, IA 52501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.283     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,432.41
           World Fuel Services, Inc.                                            Contingent
           2458 Paysphere Circle                                                Unliquidated
           Chicago, IL 60674-0024                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $24,526.83
           Wright Express                                                       Contingent
           Fleet Services                                                       Unliquidated
           PO Box 6293                                                          Disputed
           Carol Stream, IL 60197
                                                                             Basis for the claim:    Unsecured
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.285     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $16,957.70
           XL Automation, Inc.                                                  Contingent
           919 Mountain Top Drive                                               Unliquidated
           Marietta, GA 30062                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,445.78
           Ya Ya's                                                              Contingent
           8115 E 21st St N                                                     Unliquidated
           Wichita, KS 67135                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $235.46
           YRC Inc. dba YRC Freight                                             Contingent
           10990 Roe Avenue                                                     Unliquidated
           Overland Park, KS 66211                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,050.00
           Zook Excavating                                                      Contingent
           21894 SE Neosho Road                                                 Unliquidated
           Garnett, KS 66032                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




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           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Internal Revenue Service
           ATTN: Mail Stop 5334                                                                  Line     2.78
           Advisory/Insolvency
                                                                                                        Not listed. Explain
           2850 NE Independence Avenue
           Lees Summit, MO 64064

 4.2       Internal Revenue Service
           ATTN: Mail Stop 5334                                                                  Line     2.79
           Advisory/Insolvency
                                                                                                        Not listed. Explain
           2850 NE Independence Avenue
           Lees Summit, MO 64064

 4.3       Internal Revenue Service
           ATTN: Mail Stop 5334                                                                  Line     2.80
           Advisory/Insolvency
                                                                                                        Not listed. Explain
           2850 NE Independence Avenue
           Lees Summit, MO 64064

 4.4       Internal Revenue Service
           ATTN: Mail Stop 5334                                                                  Line     2.81
           Advisory/Insolvency
                                                                                                        Not listed. Explain
           2850 NE Independence Avenue
           Lees Summit, MO 64064

 4.5       United States Attorney
           1200 Epic Center                                                                      Line     2.78
           301 N. Main
                                                                                                        Not listed. Explain
           Wichita, KS 67202

 4.6       United States Attorney
           1200 Epic Center                                                                      Line     2.79
           301 N. Main
                                                                                                        Not listed. Explain
           Wichita, KS 67202

 4.7       United States Attorney
           1200 Epic Center                                                                      Line     2.80
           301 N. Main
                                                                                                        Not listed. Explain
           Wichita, KS 67202

 4.8       United States Attorney
           1200 Epic Center                                                                      Line     2.81
           301 N. Main
                                                                                                        Not listed. Explain
           Wichita, KS 67202


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                 2,277,367.56
 5b. Total claims from Part 2                                                                       5b.    +     $                10,996,968.34

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   13,274,335.90




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 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-10759
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease on camera
             lease is for and the nature of               security system
             the debtor's interest                        equipment

                  State the term remaining

             List the contract number of any                                        Belt Inc
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-10759
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:

    2.1      AWI                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                    G




    2.2      Bernie Hoffman                                                                                                         D
                                                                                                                                    E/F
                                                                                                                                    G




    2.3      Cecil O'Brate                     3118 N. Cummings Road                                                                D
                                               Garden City, KS 67846                                                                E/F
                                                                                                                                    G




    2.4      Eric Vogel                                                                                                             D
                                                                                                                                    E/F
                                                                                                                                    G




    2.5      Richard Belt                                                                                                           D
                                                                                                                                    E/F
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Ronald Beemiller                                                                                                     D
                                                                                                                                  E/F
                                                                                                                                  G




Official Form 206H                                                             Schedule H: Your Codebtors                                   Page 2 of 2
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                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           890,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       10,392,380.49

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       11,282,380.49


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       14,541,565.50


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        2,277,367.56

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,996,968.34


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         27,815,901.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

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                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 20, 2016                            X /s/ Ronald J Beemiller, II
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ronald J Beemiller, II
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         WB Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

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                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $31,227,542.16
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $78,443,876.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       WB Services, LLC                                                                          Case number (if known) 16-10759



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached list                                            Various                      $2,209,342.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Ronald Beemiller II                                          Oct 30 2015                    $250,000.00           loan repayment

               equity owner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       Cecil O'Brate                                             vehicles and inventory                                        April 2016                     Unknown
       3118 N. Cummings Road
       Garden City, KS 67846


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Decker Electric Inc vs WB                         Contract                   18th Judicial District Court                   Pending
               Services, LLC                                                                Sedgwick County                                On appeal
               16CV0861                                                                     Wichita, KS 67202
                                                                                                                                           Concluded




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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               Case title                                        Nature of case            Court or agency's name and               Status of case
               Case number                                                                 address
       7.2.    JCI Industries, Inc. vs WB                        Contract                  18th Judicial District Court                Pending
               Services, LLC                                                               Sedgwick County                             On appeal
               2016LM005972                                                                Wichita, KS 67202
                                                                                                                                       Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                            Value

       9.1.    Sedgwick Booster Club                             Cash donation to Sedgwick 2014 Fall
                                                                 Festival for street dance band                          5/13/2014                        $1,000.00

               Recipients relationship to debtor



       9.2.    Iowa State University                             Scholarship disbursement for Hillary
                                                                 Kletscher                                               5/16/2014                        $2,500.00

               Recipients relationship to debtor



       9.3.    Valero Energy Foundation                          2014 Valero benefit event for children
                                                                                                                         7/1/2014                         $5,000.00

               Recipients relationship to debtor



       9.4.    Oregon Institute of                               Scholarship for Elizabeth Thurman
               Technology
                                                                                                                         7/7/2014                         $2,500.00

               Recipients relationship to debtor



       9.5.    Catholic Charities- Diocese of                    Charitable cash donation
               Wichita
                                                                                                                         11/20/2014                     $10,000.00

               Recipients relationship to debtor




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               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value

       9.6.    Greater Wichita Sports                            Cash donation
               Commission
                                                                                                                          6/26/2015                  $1,000.00

               Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Eron Law, P.A.
                229 E. William
                Suite 100
                Wichita, KS 67202                                    Attorney Fees                                                                 $10,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Cecil O'Brate
       .    3118 N. Cummings Road                                Stock transfer; purchased 25% of equity
               Garden City, KS 67846                             ownership in LLC                                        Fall 2015                 $5,000,000.00

               Relationship to debtor
               none


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

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    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

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 Debtor      WB Services, LLC                                                                           Case number (if known) 16-10759



 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Sedgwick Ventures LLC                            property management                              EIN:
             300 E. Industrial Drive
             Sedgwick, KS 67135                                                                                From-To      2012


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Allen, Gibbs & Houlik, L.C.                                                                                                January- June 2015
                    Cindy McSwain

       26a.2.       Interstate Tax Strategies, P.C.


       26a.3.       M & L CPA's Chartered


       26a.4.       Pricewaterhouse Coopers LLC


       26a.5.       Eldringhoff, Dawna                                                                                                         2009- December
                                                                                                                                               2014

       26a.6.       Elizabeth Maury                                                                                                            2010- 2016


       26a.7.       Misty Lieker                                                                                                               April 2015-October
                                                                                                                                               2015


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Allen, Gibbs & Houlik, L.C.                                                                                                2014


       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Fortner & Short LLC                                                                                                        2013



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


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              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ronald Beemiller II                            2642 Northshore                                     CEO;equity owner                      54%
                                                      Wichita, KS 67205

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Cecil O'Brate                                  3118 N. Cummings Road                               equity owner                          25%
                                                      Garden City, KS 67846

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard Belt                                                                                       equity owner                          15%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Bernard Hoffman                                                                                    equity owner                      2013-2015


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Brandon Awtrey                                                                                     equity owner                      2013-2015




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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Eric Vogel                                                                                         equity owner                     2007-2015



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Bernard Hoffman                                                                                              5/11/2015-2/18
       .                                                         $124,504.27                                             /2016             Payroll

               Relationship to debtor
               Equity owner


       30.2 Brandon Awtrey                                                                                               4/30/2015-3/3/
       .                                                         $64,000.31                                              2016              Payroll

               Relationship to debtor
               Equity owner


       30.3 Eric Vogel                                                                                                   5/14/2015-2/18
       .                                                         $28,070.19                                              /2016             Payroll

               Relationship to debtor
               Equity owner


       30.4 Ronald Beemiller II                                                                                          5/15/2015-1/25    Owner
       .                                                         $213,750                                                /2016             draw/payroll

               Relationship to debtor
               CEO, Equity owner


       30.5 Richard Belt
       .                                                         $2728.66                                                10/29/2015        Interest payment

               Relationship to debtor
               Equity owner


       30.6 Ronald Beemiller II                                                                                                            Loan payment-
       .                                                         $250,000.00                                             10/30/2015        stock transaction

               Relationship to debtor
               CEO, Equity owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation


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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 20, 2016

 /s/ Ronald J Beemiller, II                                             Ronald J Beemiller, II
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of Kansas
 In re       WB Services, LLC                                                                                 Case No.      16-10759
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 20, 2016                                                               /s/ William H. Zimmerman, Jr.
     Date                                                                       William H. Zimmerman, Jr. 10284
                                                                                Signature of Attorney
                                                                                Eron Law, P.A.
                                                                                229 E. William
                                                                                Suite 100
                                                                                Wichita, KS 67202
                                                                                (316) 262-5500 Fax: (316) 262-5559
                                                                                Name of law firm




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